Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 1 of 30




                      EXHIBIT A

              DETAILED TIME ENTRIES
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 2 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 3 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 4 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 5 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 6 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 7 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 8 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 9 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 10 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 11 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 12 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 13 of 30
         Case 23-10831-MFW       Doc 943-2     Filed 02/01/24     Page 14 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                      Invoice 6972519
January 19, 2024                                                              Page 13




Date    Professional       Description                                Hours         Value

12/04/23 BOUCHARD          REVIEW AND REVISE PLAN SUPPLEMENT           0.90       1,080.00
                           DOCUMENTS
12/04/23 CUSHING           ANALYZE GOVERNANCE MATTERS (.6);            3.90       4,446.00
                           REVIEW SEC FILINGS (.4); REVIEW
                           RELEVANT RULES AND REGULATIONS RE:
                           TRADING OF CAPITAL STOCK (1.3); REVIEW
                           SECURITIES LAWS AS APPLICABLE TO
                           SHARES OF LMC (.9); PROVIDE ADVICE
                           WITH RESPECT TO REVISED
                           ORGANIZATIONAL DOCUMENTS (.3);
                           ADDRESS NAME CHANGE REQUIREMENT
                           (.4)
12/04/23 STARK             CONTINUED SEC NEGOTIATIONS                  1.00       1,950.00
12/05/23 TODD              RESEARCH RE: STOCK SALES AND                1.70       1,300.50
                           REGISTRATION
12/05/23 CUSHING           ATTENTION TO CORPORATE GOVERNANCE           2.30       2,622.00
                           MATTERS (.9); ADDRESS STOCK TRANSFER
                           RESTRICTIONS (.7); ATTENTION TO BOARD
                           MATTERS (.7)
12/05/23 FLINK             ATTEND TO PLAN COMMENTS                     0.50        680.00
12/05/23 WINOGRAD          REVIEW REVISED PLAN (.8); EMAILS RE         1.00       1,280.00
                           DISCOVERY (.2)
12/05/23 BOUCHARD          REVIEW AND REVISE PLAN SUPPLEMENT           0.80        960.00
                           DOCUMENTS
12/05/23 DWOSKIN           REVISE INDEMNIFICATION LANGUAGE IN          1.10       1,127.50
                           PLAN
12/05/23 SILVERBERG        CONFERENCE WITH D. TURETSKY                 1.10       1,529.00
                           REGARDING PLAN MODIFICATIONS,
                           SEC/UST DISCUSSIONS (.8), CONFERENCE
                           WITH S. DWOSKIN REGARDING
                           RESPONDING TO D&O INITIATED
                           COMMENTS TO PLAN (.3)
12/05/23 STARK             COMMUNICATIONS SEC, LOWENSTEIN RE           1.50       2,925.00
                           STATUS OF DISCUSSIONS (.5); T/CS D.
                           TURESKY (2X) RE SAME (1.0)
12/06/23 WINOGRAD          EMAILS RE SEC (.2); REVIEW REVISED          1.10       1,408.00
                           DRAFT LANGUAGE (.4); REVIEW DECISION
                           RE PROOFS OF CLAIM (.5)
12/06/23 SILVERBERG        CORRESPONDENCE WITH S. DWOSKIN, D.          0.50        695.00
                           TURETSKY REGARDING PROPOSED PLAN
                           MODIFICATIONS
12/06/23 DWOSKIN           REVISE LANGUAGE IN PLAN RE                  1.80       1,845.00
                           INDEMNIFICATION CLAIMS (.7); EMAILS AND
                           CALLS WITH DEBTORS COUNSEL RE SAME
                           (1.1)
12/06/23 STARK             PREPARE FOR AND CONDUCT MEETING             3.00       5,850.00
                           WITH US TRUSTEE, DEBTORS RE
                           CONFIRMATION ISSUES (2.0); FOLLOW-UP
                           COMMUNICATIONS WHITE & CASE RE PLAN
                           ISSUES (1.0)
         Case 23-10831-MFW       Doc 943-2     Filed 02/01/24       Page 15 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                        Invoice 6972519
January 19, 2024                                                                Page 14




Date    Professional       Description                                  Hours         Value

12/06/23 FLINK             ATTEND TO CORPORATE AND SECURITIES            0.70        952.00
                           FOLLOW-UP ISSUES RE PROPOSED PLAN
12/06/23 CUSHING           ANALYZE CASE LAW RE: GOVERNANCE               1.50       1,710.00
                           ISSUES (.5); PREPARE D&O DISCLOSURE
                           (.4); CORRESPOND AND DISCUSS WITH
                           CLIENT PARTIES (.6)
12/07/23 SAWYER            COMMENT ON RETAINED CAUSES OF                 1.20       1,068.00
                           ACTION SCHEDULE
12/07/23 SILVERBERG        REVIEW CORRESPONDENCE RE                      0.40        556.00
                           RESOLUTION OF PLAN ISSUES
12/07/23 WINOGRAD          COMMENTS TO DRAFT PLAN                        0.80       1,024.00
12/07/23 STARK             CONTINUED PLAN NEGOTIATIONS                   2.00       3,900.00
12/07/23 CUSHING           REVIEW OUTSTANDING CORPORATE AND              1.60       1,824.00
                           GOVERNANCE MATTERS RELATED TO PLAN
12/07/23 DWOSKIN           REVISE PLAN (3.5); CALLS AND EMAILS RE        4.80       4,920.00
                           SAME WITH DEBTORS COUNSEL (1.3)
12/08/23 WINOGRAD          REVIEW AND DISCUSS SECTION OF DRAFT           0.90       1,152.00
                           PLAN
12/08/23 SAWYER            CALL WITH M. WINOGRAD RE SCHEDULE OF          0.30        267.00
                           RETAINED CAUSES OF ACTION
12/08/23 SAWYER            CALL WITH S. DWOSKIN RE LITIGATION            0.10         89.00
                           TRUST MECHANICS
12/08/23 STARK             CONTINUED NEGOTIATIONS WITH                   3.50       6,825.00
                           DEBTORS AND SEC OVER PLAN TEAMS AND
                           SETTLEMENTS (3.0); T/C D. TURETSKY RE
                           OCC DEPOSITION NOTICE (.5)
12/08/23 FLINK             ATTEND TO GOVERNANCE ISSUES                   0.30        408.00
12/08/23 DWOSKIN           REVISE PLAN DOCUMENTS                         3.20       3,280.00
12/08/23 CUSHING           ATTENTION TO PLAN AND CONFIRMATION            4.50       5,130.00
                           ORDER ISSUES RE GOVERNANCE (1.8);
                           ATTENTION TO MATTERS RELATED TO
                           APPOINTMENT OF NEW DIRECTORS (.3);
                           REVIEW OF MATTERS RELATED TO STOCK
                           TRANSFER RESTRICTION (.9); REVIEW
                           IMPACT OF FOXCONN COMMENTS TO
                           ORGANIZATIONAL DOCUMENTS (.8);
                           REVIEW REVISED PLAN (.7)
12/09/23 SAWYER            REVIEW PLAN AND PLAN SUPPLEMENT               2.00       1,780.00
                           DOCS RE LITIGATION TRUST MECHANICS
                           (.9); STRATEGIZE WITH BR TEAM RE SAME
                           (.8); COMMUNICATIONS WITH R. SZUBA RE
                           SAME (.3)
12/09/23 DWOSKIN           REVISE PLAN                                   2.40       2,460.00
12/10/23 SAWYER            REVISIONS TO PLAN RE LITIGATION TRUST         0.40        356.00
12/10/23 DWOSKIN           REVISE LITIGATION TRUST AGREEMENT             5.80       5,945.00
                           (4.1); REVISE PLAN LANGUAGE RE
                           LITIGATION TRUST (1.7)
         Case 23-10831-MFW       Doc 943-2    Filed 02/01/24   Page 16 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                   Invoice 6972519
January 19, 2024                                                           Page 15




Date    Professional       Description                             Hours         Value

12/10/23 CUSHING           INITIAL REVIEW OF PLAN REVISIONS FROM    0.40        456.00
                           WHITE & CASE
12/11/23 SAWYER            MEETING WITH BR TEAM RE PLAN             0.80        712.00
                           SETTLEMENT UPDATES AND NEXT STEPS
12/11/23 SILVERBERG        CONFERENCE WITH D. TURETSKY              3.00       4,170.00
                           REGARDING PLAN MODIFICATIONS,
                           SETTLEMENTS (.8); CONFERENCE WITH S.
                           DWOSKIN, M. SAWYER REGARDING PLAN
                           SETTLEMENTS (.2); FOLLOWUP
                           CONFERENCE WITH R. STARK REGARDING
                           SETTLEMENTS, CASE STATUS (.5);
                           CONSIDER PLAN REVISIONS TO
                           INCORPORATE SETTLEMENTS (.3); REVIEW
                           PROPOSED CONTRACT ASSUMPTION
                           ORDER, ACCOMPANYING SCHEDULE (.2);
                           CONFERENCE WITH R. WINNING
                           REGARDING CONTRACT ASSUMPTIONS AS
                           OF EFFECTIVE DATE (.3), CONFERENCE
                           WITH D. TURETSKY, R. WINNING, R.
                           KAMPFNER REGARDING CONTRACT
                           ASSUMPTION ISSUES (.2); FOLLOWUP
                           CONFERENCE WITH R. WINNING (.2);
                           REVIEW PROPOSED REVISION TO
                           CONFIRMATION ORDER (.3)
12/11/23 FLINK             REVIEW RE REVISED PLAN (1.2); FOLLOW-    1.60       2,176.00
                           UP ON OPEN ISSUES RE GOVERNANCE (.4)
12/11/23 WINOGRAD          EMAILS RE PLAN SUPPLEMENT DOCS           1.30       1,664.00
                           RECEIVED ACTION SCHEDULE (.2); REVIEW
                           AND EMAILS RE INDEMNIFICATION
                           OBLIGATIONS (1.1)
12/11/23 DWOSKIN           REVISE PLAN                              4.60       4,715.00
12/11/23 CUSHING           ATTENTION TO MATTERS RELATED TO          3.10       3,534.00
                           IMPLEMENTATION OF STOCK TRANSFER
                           RESTRICTIONS (.9); REVIEW PLAN
                           REVISIONS (.4); ADDRESS RELATED
                           REVISIONS TO ORGANIZATIONAL
                           DOCUMENTS (1.1); STRATEGIZE
                           REGARDING SAME.(7)
12/11/23 STARK             CONTINUED PLAN NEGOTIATIONS              4.00       7,800.00
12/11/23 STARK             ATTEND SETTLEMENT CALL WITH SEC          1.00       1,950.00
12/12/23 DWOSKIN           CALL WITH DEBTORS COUNSEL RE PLAN        0.50        512.50
                           LANGUAGE
12/12/23 SILVERBERG        CONFERENCE WITH D. TURETSKY, S.          1.10       1,529.00
                           DWOSKIN REGARDING NHTSA COMMENTS
                           TO CONFIRMATION ORDER (.5); REVIEW
                           REVISIONS TO CONFIRMATION ORDER (.2);
                           DRAFT COMMENTS RE PROPOSED
                           PROVISIONS FOR CONFIRMATION ORDER
                           (.4)
         Case 23-10831-MFW       Doc 943-2       Filed 02/01/24         Page 17 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                            Invoice 6972519
January 19, 2024                                                                    Page 16




Date    Professional       Description                                      Hours         Value

12/12/23 SAWYER            REVIEW FOXCONN COMMENTS AND                       1.30       1,157.00
                           RELATED REVISIONS TO CERTIFICATE OF
                           INCORPORATION (.5) BYLAWS (.4); EMAILS
                           WITH B. SILVERBERG RE RETAINED
                           CAUSES OF ACTION SCHEDULE (.4)
12/12/23 HEALY             ANALYSIS OF INSURANCE DOCUMENTS RE                1.20       1,110.00
                           PLAN ISSUES (.4); REVIEW PLAN
                           SUPPLEMENT ISSUES, RETAINED ACTION
                           SCHEDULE (.4); CONSIDER ISSUES
                           REGARDING INDEMNIFICATION CLAIMS
                           TREATMENT UNDER PLAN (.4)
12/12/23 SAWYER            REVIEW CASE LAW RE DISCHARGEABILITY               2.10       1,869.00
12/12/23 WINOGRAD          EMAILS AND CALLS RE DIRECTOR                      3.30       4,224.00
                           INDEMNIFICATION ISSUE (.6); REVIEW DOCS
                           AND OUTLINING RE INDEMNIFICATION
                           ISSUE (1.2); RESEARCH AND OUTLINING RE
                           INDEMNIFICATION ISSUE (1.5)
12/12/23 FLINK             ATTEND TO CHARTER (.7) AND BY-LAW                 2.60       3,536.00
                           REVISIONS (.6); REVIEW INDEMNIFICATION
                           PROVISIONS (.8) AND SL RE THE SAME (.5)
12/12/23 CUSHING           REVIEW REGULATORY MATTERS RELATED                 3.90       4,446.00
                           TO SHAREHOLDER TRANSFER
                           RESTRICTIONS (1.7); ATTENTION TO
                           OUTSTANDING CORPORATE GOVERNANCE
                           MATTERS (.6); BEGIN REVIEW OF OPTION
                           PLAN (.3); REVISE AND EDIT
                           ORGANIZATIONAL DOCUMENTS (.9);
                           STRATEGIZE RELATED TO
                           INDEMNIFICATION MATTERS (.4)
12/12/23 STARK             REVIEW MEMORANDA ON D&O INDEMNITY                 1.50       2,925.00
                           CLAIM ISSUES (.3); RESEARCH RE SAME
                           (.7); T/C M. WINOGRAD RE SAME (.2); T/C B.
                           SILVERBERG RE SAME (.3)
12/13/23 SILVERBERG        EVALUATE INDEMIFICATION CLAIMS                    1.40       1,946.00
                           ASSERTED BY COMPANY DIRECTORS
12/13/23 SILVERBERG        CONFERENCE WITH D. TURETSKY                       0.60        834.00
                           REGARDING CONFIRMATION
                           ADJOURNMENT, PENDING SETTLEMENTS,
                           VOTING RESULTS (.3); REVIEW ISSUES
                           REGARDING RETAINED ACTION SCHEDULE
                           (.3)
12/13/23 CASTANO           CALL WITH S. DWOSKIN RE                           0.90        571.50
                           INDEMNIFICATION RESEARCH
12/13/23 HEALY             REVIEW OF COMPLAINTS RE INSURANCE                 2.50       2,312.50
                           QUESTIONS; CALL WITH TRUSTEE
12/13/23 WINOGRAD          CALL AND EMAILS RE D & O                          1.00       1,280.00
                           INDEMNIFICATION
12/13/23 DWOSKIN           REVIEW CONFIRMATION ORDER LANGUAGE                6.30       6,457.50
                           (.4); REVIEW INDEMNIFICATION
                           OBLIGATIONS (5.9)
         Case 23-10831-MFW       Doc 943-2       Filed 02/01/24    Page 18 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                       Invoice 6972519
January 19, 2024                                                               Page 17




Date    Professional       Description                                 Hours         Value

12/13/23 STARK             C/C B. SILVERBERG, S. DWOSKIN RE             1.00       1,950.00
                           RESEARCH OVER DIRECTOR INDEMNITY
                           CLAIM ENTITLEMENTS
12/13/23 CUSHING           ADDRESS MATTERS RELATED TO                   5.40       6,156.00
                           MODIFICATION OF ORGANIZATIONAL
                           DOCUMENTS (1.8); STRATEGIZE IMPACT OF
                           TRANSFER RESTRICTIONS (1.9); REVIEW
                           SURVIVING CORPORATE GOVERNANCE
                           AGREEMENTS (1.7)
12/14/23 CASTANO           CALL WITH S. DWOSKIN RE:                     9.90       6,286.50
                           INDEMNIFICATION ISSUES (.4); RESEARCH
                           RE: INDEMNIFICATION ISSUES (9.5)
12/14/23 SILVERBERG        CONFERENCE WITH D. TURETSKY                  0.30        417.00
                           REGARDING PLAN SETTLEMENT STATUS
12/14/23 FLINK             ATTEND TO OUTSTANDING CORPORATE              0.50        680.00
                           AND SECURITIES ISSUES
12/14/23 WINOGRAD          REVIEW AND EMAILS RE RETAINED CLAIMS         0.50        640.00
12/14/23 DWOSKIN           RESEARCH RE BOFD CLAIMS (1.4); REVISE        4.90       5,022.50
                           PLAN LANGUAGE (3.2); CALLS RE SAME (.3)
12/14/23 CUSHING           REVIEW OUTSTANDING CORPORATE                 1.00       1,140.00
                           MATTERS IN PREPARATION FOR
                           CONFERENCE WITH COMPANY LEGAL
                           REPRESENTATIVES (.7); PROVIDE ADVICE
                           WITH RESPECT TO STATUS OF ORG. DOCS
                           (.3)
12/15/23 TODD              CALL REGARDING EMERGENCE AND                 0.80        612.00
                           TRANSFER RESTRICTIONS
12/15/23 SAWYER            SEVERAL CALLS WITH S. DWOSKIN L.             6.00       5,340.00
                           CASTANO, AND E. CALHOUN RE
                           INDEMNIFICATION CLAIMS RESEARCH (2.8);
                           RESEARCH RE SAME (3.2)
12/15/23 SILVERBERG        UPDATE WITH R. STARK REGARDING               0.30        417.00
                           STATUS OF RESOLUTION OF PLAN
                           OBJECTIONS
12/15/23 CALHOUN           RESEARCH RE: 510(B)                          2.10       1,333.50
12/15/23 DWOSKIN           RESEARCH CAUSES OF ACTION                    1.70       1,742.50
12/15/23 CUSHING           PREPARE FOR (.5) AND PARTICIPATE (.8) IN     1.60       1,824.00
                           MEETING WITH COMPANY COUNSEL
                           REGARDING OUTSTANDING CORPORATE
                           ORGANIZATIONAL MATTERS; STRATEGIZE
                           RE: ORG DOCS (.3)
12/15/23 FLINK             PREPARE FOR (.2) AND CW COMPANY AND          2.30       3,128.00
                           COMPANY COUNSEL RE CORPORATE AND
                           SECURITIES MATTERS IN ADVANCE OF
                           EFFECTIVENESS (.6); ADDRESS
                           CONFIRMATION ORDER PROVISIONS RE
                           GOVERNANCE AND SECURITIES (1.5)
12/17/23 TODD              REVIEW ARTICLES AND BYLAWS                   0.80        612.00
         Case 23-10831-MFW       Doc 943-2      Filed 02/01/24       Page 19 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                         Invoice 6972519
January 19, 2024                                                                 Page 18




Date    Professional       Description                                   Hours         Value

12/17/23 HEALY             DRAFT COMMENTS RE PLAN WORDING RE              0.70        647.50
                           INSURANCE COVERAGE ISSUES
12/18/23 SILVERBERG        CONSIDER SUPPLEMENTAL LANGUAGE                 0.20        278.00
                           FOR CONFIRMATION ORDER REGARDING
                           TRUST ESTABLISHMENT
12/18/23 TODD              REVIEW ARTICLES AND BYLAWS                     0.30        229.50
12/18/23 HEALY             ANALYSIS OF FURTHER DETAILS RE                 0.30        277.50
                           INSURANCE COVERAGE
12/18/23 STARK             COMMUNICATIONS DEBTORS, SEC RE PLAN            1.50       2,925.00
                           NEGOTIATIONS AND CASE NEXT STEPS
                           (1.0); T/C A SOLE RE SAME (.5)
12/18/23 FLINK             FOLLOW-UP RE CORPORATE AND                     0.50        680.00
                           SECURITIES MATTERS
12/18/23 DWOSKIN           RESEARCH CAUSES OF ACTION                      0.40        410.00
12/18/23 SILVERBERG        CONSIDER SETTLEMENT MECHANICS                  0.50        695.00
                           ISSUES
12/19/23 SAWYER            REVIEW DEBTORS' REVISIONS TO PLAN              0.80        712.00
12/19/23 BOUCHARD          REVIEW REVISED DRAFT OF SECOND                 1.20       1,440.00
                           AMENDED PLAN
12/19/23 FLINK             FOLLOW-UP RE CORPORATE AND                     0.20        272.00
                           SECURITIES MATTERS
12/19/23 CUSHING           STRATEGIZE IMPACT OF PROPOSED PLAN             3.80       4,332.00
                           AMENDMENTS ON CORPORATE
                           GOVERNANCE AND RELATED MATTERS
                           (1.4); ANALYZE LIQUIDATION PREFERENCE
                           AND CONTRIBUTION TO 10-B5 CLAIMANTS
                           (.4); ATTEND TO DEFINITIONAL MATTERS
                           AND POTENTIAL IMPACT ON TRANSFER
                           RESTRICTIONS (.8); COMMENTS TO PLAN
                           (.3); REVIEW NEW ORGANIZATIONAL
                           DOCUMENTS (.9)
12/20/23 SAWYER            REVISIONS TO SCHEDULE OF RETAINED              0.60        534.00
                           CAUSES OF ACTION
12/20/23 CUSHING           REVIEW REVISIONS TO NEW                        4.50       5,130.00
                           ORGANIZATIONAL DOCUMENTS PROPOSED
                           BY DEBTOR COUNSEL (.8); EVALUATE PLAN
                           INTERACTION WITH NEW ORGANIZATIONAL
                           DOCUMENTS AND OBLIGATIONS OF
                           PREFERRED SHAREHOLDERS (1.3); REVIEW
                           AND EXAMINE PLAN IN LIGHT OF
                           PROPOSED EDITS FROM DEBTORS
                           COUNSEL REGARDING 10-B-5 CLAIMS AND
                           PREFERRED STOCK LIQUIDATION
                           PREFERENCE (1.3); REVISE AND EDIT PLAN
                           (.8); PROVIDE ADVICE WITH RESPECT TO
                           PLAN AMENDMENTS (.3)
12/20/23 STARK             EXTENDED PLAN NEGOTIATING SESSION              2.00       3,900.00
                           WITH WHITE & CASE (1.0); T/C A. SOLE RE
                           SAME (.5); T/C S. DWOSKIN RE D&O
                           LITIGATION ISSUES
         Case 23-10831-MFW       Doc 943-2     Filed 02/01/24     Page 20 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                      Invoice 6972519
January 19, 2024                                                              Page 19




Date    Professional       Description                                Hours         Value

12/20/23 WINOGRAD          EMAILS AND REVIEW RE SCHEDULE OF            0.50        640.00
                           RETAINED CAUSES OF ACTION
12/20/23 SILVERBERG        REVIEW AND REVISIONS TO PLAN TO             1.60       2,224.00
                           ACCOMMODATE SETTLEMENTS (1.0);
                           CORRESPONDENCE REGARDING
                           SETTLEMENTS, PENDING OBJECTIONS (.6)
12/20/23 DWOSKIN           REVISE PLAN SUPPLEMENT DOCUMENTS            5.70       5,842.50
12/21/23 DWOSKIN           REVISE PLAN (1.1) AND PLAN SUPPLEMENT       3.80       3,895.00
                           DOCUMENTS (2.7)
12/21/23 SILVERBERG        COMMENTS TO REVISED PLAN RE                 1.00       1,390.00
                           SETTLEMENT IMPLEMENTATION
12/21/23 CUSHING           REVIEW NAMING CONVENTION COVENANT           2.80       3,192.00
                           (.2); ATTENTION TO MATTERS RELATED TO
                           CORPORATE GOVERNANCE (2.6)
12/22/23 SILVERBERG        CONFERENCE WITH R. STARK RE PLAN            0.30        417.00
                           MODIFICATIONS
12/22/23 CUSHING           PREPARE FOR MEETING (.3) AND MEET           4.20       4,788.00
                           WITH FA AND NEW CEO REGARDING
                           CORPORATE GOVERNANCE MATTERS (.5);
                           ADDRESS INQUIRIES REGARDING NOL
                           RESTRICTIONS AND OTHER CORPORATE
                           GOVERNANCE MATTERS WITH DEBTOR
                           COUNSEL (.9); ATTEND TO REVIEW OF NEW
                           ORGANIZATIONAL DOCUMENTS (.7);
                           REVIEW EXISTING EQUITY PLAN (.6);
                           REVIEW HANDLING OF EQUITY INTERESTS
                           IN CONFIRMATION ORDER (1.2)
12/22/23 STARK             T/C D. BADDLEY RE CASE NEXT STEPS (.6);     1.40       2,730.00
                           EXTENDED T/C D. TURETSKY RE SAME (.8)
12/26/23 FLINK             ATTEND TO GOVERNANCE (.3) AND               0.80       1,088.00
                           CONFIRMATION ORDER (.5)
12/26/23 CUSHING           STRATEGIZE RELATED TO CORPORATE             5.10       5,814.00
                           GOVERNANCE MATTERS (4.6); BEGIN
                           REVIEW OF DRAFT CONFIRMATION ORDER
                           (.2); CORRESPOND WITH COMPANY
                           COUNSEL (.3)
12/27/23 SAWYER            EMAILS WITH J. CUSHING RE                   0.50        445.00
                           CONFIRMATION ORDER STATUS AND
                           STRATEGY (.2); REVIEW DEBTORS'
                           PROPOSED REVISIONS TO RETAINED
                           CAUSES OF ACTION SCHEDULE (.3)
12/27/23 CUSHING           ADDRESS MATTERS RELATED TRANSFER            5.30       6,042.00
                           RESTRICTIONS (2.7); ADDRESS
                           STOCKHOLDER NOTIFICATION
                           REQUIREMENTS (.3); BEGIN REVIEW OF
                           CONFIRMATION ORDER (1.5); ADDRESS
                           REVISIONS TO NEW ORG. DOCS (.4);
                           CORRESPOND WITH DEBTOR COUNSEL (.2);
                           CORRESPOND WITH COMPANY COUNSEL
                           (.2)
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 21 of 30
          Case 23-10831-MFW     Doc 943-2      Filed 02/01/24   Page 22 of 30
LORDSTOWN MOTORS CORP. OFFICIAL EQUITY COMMITTEE                    Invoice 6972519
January 19, 2024                                                            Page 21



Professional                        Hours                   Rate                  Value
ETHAN H. CALHOUN                      2.10   hours at      635.00               1,333.50
          Total Fees                                                         267,330.50
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 23 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 24 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 25 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 26 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 27 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 28 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 29 of 30
Case 23-10831-MFW   Doc 943-2   Filed 02/01/24   Page 30 of 30
